Case: 4:24-cv-01441-SPM       Doc. #: 1    Filed: 10/25/24   Page: 1 of 41 PageID #: 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


 TRACEY DAMRAU and DANIELLE
 OSHEA, individually and on behalf of all
 others similarly situated,
                                                  Civil Action No. 4:24-cv-1441_____
                     Plaintiffs,
       v.

 COLIBRI GROUP, INC.,                             DEMAND FOR JURY TRIAL

                     Defendant.


                         CLASS ACTION COMPLAINT

       Tracey Damrau (“Plaintiff Damrau”) and Danielle Oshea (“Plaintiff

 Oshea”), individually and on behalf of all others similarly situated, make the

 following allegations pursuant to the investigation of counsel and based upon

 information and belief, except as to allegations pertaining specifically to

 themselves or their counsel, which are based on personal knowledge.

                             NATURE OF THE CASE

      1.     Plaintiffs bring this action to redress Defendant Colibri Group, Inc.’s

(“Colibri”) practices of selling, renting, transmitting, and/or otherwise disclosing, to

various third parties, records containing the personal information (including names

and addresses) of each of their customers, along with detailed information revealing

the subscription to prerecorded video content or titles and subject matter of
Case: 4:24-cv-01441-SPM      Doc. #: 1        Filed: 10/25/24   Page: 2 of 41 PageID #: 2




prerecorded video and other audiovisual materials requested or obtained by each

customer in violation of the Video Privacy Protection Act, 18 U.S.C. §2710 et seq.

(“VPPA”).

      2.     Over the past two years, Defendant has systematically transmitted (and

continues to transmit today) its customers’ personally identifying video viewing

information to third parties, such as Meta Platforms, Inc. (“Meta”) and TikTok Inc.

(“Tiktok”). The programming code for Meta is called the “Meta Pixel,” which

Defendant chose to install on the websites of its portfolio of companies and brands,

including   but   not   limited   to    the       www.elitelearning.com    website,   the

www.homeceuconnection.com,        the     www.colibrirealestate.com        website,   the

www.mckissock.com website, and the www.fhea.com website (the “Websites”).

The programming code for TikTok is called the “TikTok Pixel,” which Defendant

chose to install on the Websites of its Colibri Group portfolio of companies and

brands.

      3.     Each of Defendant’s Websites operate in the same manner as alleged in

more detail below.

      4.     The information Defendant disclosed (and continues to disclose) to

Meta via the Meta Pixel includes the customer’s Facebook ID (“FID”) and the

subscription to access prerecorded videos or the specific title of prerecorded videos

that each of its customers purchased on any one of its Websites. An FID is a unique


                                              1
Case: 4:24-cv-01441-SPM       Doc. #: 1   Filed: 10/25/24    Page: 3 of 41 PageID #: 3




sequence of numbers linked to a specific Meta profile. A Meta profile, in turn,

identifies by name the specific person to whom the profile belongs (and also contains

other    personally   identifying   information   about     the   person).   Entering

“Facebook.com/[FID]” into a web browser returns the Meta profile of the person to

whom the FID corresponds. Thus, the FID identifies a person more precisely than a

name, as numerous persons may share the same name, but each person’s Facebook

profile (and associated FID) uniquely identifies one and only one person. In the

simplest terms, the Meta Pixel installed by Defendant captures and discloses to Meta

information that reveals a particular person purchased prerecorded video content or

a subscription to access prerecorded video content on Defendant’s Websites

(hereinafter, “Private Viewing Information”).

        5.    The information Defendant disclosed (and continues to disclose) to

TikTok via the TikTok Pixel includes the customer’s cellular telephone number and

the subscription to access prerecorded videos or the specific title of prerecorded

videos that each of its customers purchased on any one of its Websites. A cellular

telephone number or email is required inter alia to sign up for a TikTok account,

which is set to receive a short code for verification purposes. A TikTok profile, in

turn, identifies by name the specific person to whom the profile belongs (and also

contains other personally identifying information about the person). Entering the

cellular telephone number on any search engine or a free reverse lookup site will


                                          2
Case: 4:24-cv-01441-SPM       Doc. #: 1   Filed: 10/25/24   Page: 4 of 41 PageID #: 4




return the owner’s name. Thus, the cellular telephone number or email used for sign-

up identifies a person more precisely than a name, as numerous persons may share

the same name, but a cellular telephone number is usually uniquely associated with

one and only one person. In the simplest terms, the TikTok Pixel installed by

Defendant captures and discloses to TikTok information that reveals a particular

person purchased prerecorded video content or a subscription to access prerecorded

video    content   on   Defendant’s   Websites    (hereinafter,   “Private   Viewing

Information”).

        6.   Defendant disclosed and continues to disclose its customers’ Private

Viewing Information to Meta and TikTok without asking for, let alone obtaining,

their consent to these practices.

        7.   The VPPA clearly prohibits what Defendant has done. Subsection

(b)(1) of the VPPA provides that, absent the consumer’s prior informed, written

consent, any “video tape service provider who knowingly discloses, to any person,

personally identifiable information concerning any consumer of such provider shall

be liable to the aggrieved person for,” 18 U.S.C. § 2710(b)(1), damages in the

amount of $2,500.00, see id. § 2710(c).

        8.   Accordingly, on behalf of themselves and the putative Class members

defined below, Plaintiffs bring this Class Action Complaint against Defendant for




                                          3
Case: 4:24-cv-01441-SPM         Doc. #: 1    Filed: 10/25/24   Page: 5 of 41 PageID #: 5




intentionally and unlawfully disclosing their and the Putative Class members’

Private Viewing Information to Meta.

                                        PARTIES

   I.         Plaintiff Tracey Damrau

        9.      Plaintiff Damrau is, and at all times relevant hereto was, a citizen and

resident of Suffolk County, New York.

        10.     Plaintiff Damrau is, and at all times relevant hereto was, a user of Meta

and TikTok.

        11.     Plaintiff Damrau is a consumer of the video products and services

offered on Defendant’s www.elitelearning.com website. Including on or about July

6, 2024, Plaintiff Damrau purchased an all-access subscription to access prerecorded

video material from Defendant’s website by requesting and paying for such material,

providing her name, email address, and home address for shipment of such material.

Defendant completed its sales of goods to Plaintiff Damrau by shipping or delivering

the prerecorded video material she purchased to the address she provided in her

order. Accordingly, Plaintiff Damrau requested or obtained, and is therefore a

consumer of, prerecorded video material sold by Defendant on its website.

        12.     On multiple occasions during the two years preceding the filing of this

action, Plaintiff Damrau used her subscription to Defendant’s website to request and

obtain pre-recorded videos from Defendant.


                                             4
Case: 4:24-cv-01441-SPM        Doc. #: 1   Filed: 10/25/24   Page: 6 of 41 PageID #: 6




      13.       At all times relevant hereto, including when purchasing a subscription

to Defendant’s website and accessing and obtaining the prerecorded video material

provided to subscribers on Defendant’s website, Plaintiff Damrau had a Meta

account, a Meta profile, and an FID associated with such profile.

      14.       At all times relevant hereto, including when purchasing a subscription

to Defendant’s website and accessing and obtaining the prerecorded video material

provided to subscribers on Defendant’s website, Plaintiff Damrau had a TikTok

account, a TikTok profile, and her cellular telephone number was associated with

such profile.

      15.       Plaintiff Damrau has never consented, agreed, authorized, or otherwise

permitted Defendant to disclose her Private Viewing Information to Meta or TikTok.

In fact, Defendant has never even provided Plaintiff Damrau with written notice of

its practices of disclosing its customers’ Private Viewing Information to third parties

such as Meta or TikTok.

      16.       To illustrate Defendant’s disclosure to Meta, when Plaintiff Damrau

purchased the “NY Social Work All Access Pass” subscription, the specific title of

the subscription, the hashed product code, and her request to “Join Today” to

complete her purchase was transmitted to Meta alongside Plaintiff Damrau’s FID as

seen in the exemplar source code for the Elite Nursing Passport CE Membership

below:


                                            5
Case: 4:24-cv-01441-SPM   Doc. #: 1   Filed: 10/25/24   Page: 7 of 41 PageID #: 7
Case: 4:24-cv-01441-SPM            Doc. #: 1   Filed: 10/25/24    Page: 8 of 41 PageID #: 8




in particular, and Plaintiff Damrau has never consented, agreed, authorized, or

otherwise permitted Defendant to disclose her Private Viewing Information to third

parties. Plaintiff Damrau has never been provided any written notice that Defendant

sells, rents, licenses, exchanges, or otherwise discloses its customers’ Private

Viewing Information, or any means of opting out of such disclosures of her Private

Viewing Information.

         19.      Because Defendant disclosed Plaintiff Damrau’s Private Viewing

Information (including her FID, phone number unique identifiers, and her purchase

of a subscription to access prerecorded video material to Defendant’s website) to

third parties during the applicable statutory period, Defendant violated Plaintiff

Damrau’s rights under the VPPA and invaded her statutorily conferred interest in

keeping such information (which bears on her personal affairs and concerns) private.

   II.         Plaintiff Danielle Oshea

         20.      Plaintiff Oshea is, and at all times relevant hereto was, a citizen and

resident of Suffolk County, New York.

         21.      Plaintiff Oshea is, and at all times relevant hereto was, a user of TikTok.

         22.      Plaintiff Oshea is a consumer of the video products and services offered

on Defendant’s www.elitelearning.com website. Including on or about August 22,

2024 and August 28, 2024, Plaintiff Oshea purchased prerecorded video content

from Defendant’s website by requesting and paying for such material, providing her


                                                7
Case: 4:24-cv-01441-SPM      Doc. #: 1   Filed: 10/25/24   Page: 9 of 41 PageID #: 9




name, email address, phone number, and home address for shipment of such

material. Defendant completed its sales of goods to Plaintiff Oshea by shipping or

delivering the prerecorded video material she purchased to the address she provided

in her order. Accordingly, Plaintiff Oshea requested or obtained, and is therefore a

consumer of, prerecorded video material sold by Defendant on its website.

      23.   At all times relevant hereto, including when purchasing prerecorded

video material provided on Defendant’s website, Plaintiff Oshea had a TikTok

account and profile and her phone number was associated with such profile.

      24.   Plaintiff Oshea has never consented, agreed, authorized, or otherwise

permitted Defendant to disclose her Private Viewing Information to TikTok. In fact,

Defendant has never even provided Plaintiff Oshea with written notice of its

practices of disclosing its customers’ Private Viewing Information to third parties

such as TikTok.

      25.   To illustrate Defendant’s disclosure to TikTok, when Plaintiff Oshea

purchased prerecorded video content including the “Managing Professional

Boundaries” course, the specific title of the prerecorded video, the hashed product

code, and her request to “Join Today” to complete her purchase was transmitted to

TikTok during the single continuous session involving her purchase.

      26.   During Step Two of the registration process for Plaintiff Oshea’s

purchase of the “Managing Professional Boundaries” course, Defendant’s website


                                         8
Case: 4:24-cv-01441-SPM        Doc. #: 1        Filed: 10/25/24   Page: 10 of 41 PageID #: 10




specifically required that Plaintiff Oshea provide her phone number, and as she

provided her cellular telephone number, the EnrichAM event1 code was auto-

triggered for TikTok to collect Plaintiff Oshea’s un-hashed cellular telephone

number and then TikTok transmitted her number in hashed value via the TikTok

Pixel          as          seen            in           the         exemplar            below:




        27.   After this information was transmitted, a “Complete Payment” event

code was then transmitted from Defendant’s website to TikTok via the TikTok Pixel

when Plaintiff Oshea submitted her order.




1
  EnrichAM is a Tiktok event code that is used for Enhanced Data Postback that collects more
specific information unless a user expressly and separately opts out of its auto collection. See
TikTok, Enhance Data Postback with the TikTok Pixel, TikTok Bus. Help
Ctr., https://ads.tiktok.com/help/article/enhance-data-postback-with-the-tiktok-pixel.

                                                 9
Case: 4:24-cv-01441-SPM      Doc. #: 1   Filed: 10/25/24   Page: 11 of 41 PageID #: 11




      28.      At all times relevant hereto, when Plaintiff Oshea purchased

prerecorded video content on Defendant’s website, TikTok used Plaintiff Oshea’s

“contact details,” as transmitted by Defendant’s installation of the TikTok Pixel, to

match her purchase and interactions on Defendant’s website to her TikTok profile.

      29.      Prior to and at the time she purchased prerecorded video material from

Defendant, Defendant did not notify Plaintiff Oshea that it would disclose the Private

Viewing Information of its customers generally or that of Plaintiff Oshea in

particular, and Plaintiff Oshea has never consented, agreed, authorized, or otherwise

permitted Defendant to disclose her Private Viewing Information to third parties.

Plaintiff Oshea has never been provided any written notice that Defendant sells,

rents, licenses, exchanges, or otherwise discloses its customers’ Private Viewing

Information, or any means of opting out of such disclosures of her Private Viewing

Information.

      30.      Because Defendant disclosed Plaintiff Oshea’s Private Viewing

Information (including her phone number, device identifiers, and her purchase of

prerecorded video material on Defendant’s website) to TikTok during the applicable

statutory period, Defendant violated Plaintiff Oshea’s rights under the VPPA and

invaded her statutorily conferred interest in keeping such information (which bears

on her personal affairs and concerns) private.




                                          10
Case: 4:24-cv-01441-SPM         Doc. #: 1    Filed: 10/25/24   Page: 12 of 41 PageID #: 12




     III.     Defendant Colibri Group, Inc.

        31.     Defendant is a foreign corporation existing under the laws of the State

of    Delaware      with   a    principal   place   of   business   at   338   S.   Spring

St Louis, MO 63110. Defendant operates and maintains a portfolio of company and

brand Websites, including www.elitelearning.com, www.homeceuconnection.com,

www.colibrirealestate.com, www.mckissock.com, and www.fhea.com, where it

sells subscriptions to access prerecorded video content and individually priced

prerecorded video content from various industries, including nursing, healthcare,

home inspection, engineering, appraisal, social work, occupational therapy,

pharmacy, counseling, and other fields.

        32.     Defendant is the parent company governing several companies and

brands that collectively comprise the Colibri Group portfolio including Colibri

Healthcare, LLC f/k/a Elite Professional Education LLC; Colibri Real Estate, LLC;

McKissock, LLC, and Fitzgerald Health Education Associates, LLC.

                               JURISDICTION AND VENUE

        33.     The Court has subject-matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 2710.

        34.     Personal jurisdiction and venue are proper because Defendant

maintains its headquarters and principal place of business in St. Louis, MO, within

this judicial District.


                                              11
Case: 4:24-cv-01441-SPM      Doc. #: 1   Filed: 10/25/24   Page: 13 of 41 PageID #: 13




                    VIDEO PRIVACY PROTECTION ACT

      35.     The VPPA prohibits companies (like Defendant) from knowingly

disclosing to third parties (like Meta and TikTok) information that personally

identifies consumers (like Plaintiffs) as having requested or obtained a subscription

to prerecorded video content or a specific video(s) or other audio-visual materials.

      36.     Specifically, subject to certain exceptions that do not apply here, the

VPPA prohibits “a video tape service provider” from “knowingly disclos[ing], to

any person, personally identifiable information concerning any consumer of such

provider[.]” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service

provider” as “any person, engaged in the business . . . of rental, sale, or delivery of

prerecorded video cassette tapes or similar audio visual materials,” 18 U.S.C. §

2710(a)(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods

or services from a video tape service provider.”           18 U.S.C. § 2710(a)(1).

“‘[P]ersonally identifiable information’ includes information which identifies a

person as having requested or obtained specific video materials or services from a

video tape service provider.” 18 U.S.C. § 2710(a)(3).

      37.     Leading up to the VPPA’s enactment in 1988, members of the United

States Senate warned that “[e]very day Americans are forced to provide to

businesses and others personal information without having any control over where

that information goes.” Id.     Senators at the time were particularly troubled by


                                          12
Case: 4:24-cv-01441-SPM      Doc. #: 1    Filed: 10/25/24    Page: 14 of 41 PageID #: 14




disclosures of records that reveal consumers’ purchases and rentals of videos and

other audiovisual materials because such records offer “a window into our loves,

likes, and dislikes,” such that “the trail of information generated by every

transaction that is now recorded and stored in sophisticated record-keeping systems

is a new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-599 at

7-8 (1988) (statements of Sens. Simon and Leahy, respectively).

      38.     Thus, in proposing the Video and Library Privacy Protection Act

(which later became the VPPA), Senator Patrick J. Leahy (the senior Senator from

Vermont from 1975 to 2023) sought to codify, as a matter of law, that “our right to

privacy protects the choice of movies that we watch with our family in our own

homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator Leahy explained at

the time, the personal nature of such information, and the need to protect it from

disclosure, is the raison d’être of the statute: “These activities are at the core of any

definition of personhood. They reveal our likes and dislikes, our interests and our

whims. They say a great deal about our dreams and ambitions, our fears and our

hopes. They reflect our individuality, and they describe us as people.” Id.

      39.     While these statements rang true in 1988 when the act was passed, the

importance of legislation like the VPPA in the modern era of data mining is more

pronounced than ever before. During a more recent Senate Judiciary Committee

meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st


                                           13
Case: 4:24-cv-01441-SPM        Doc. #: 1   Filed: 10/25/24   Page: 15 of 41 PageID #: 15




Century,” Senator Leahy emphasized the point by stating: “While it is true that

technology has changed over the years, we must stay faithful to our fundamental

right to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’

mobile apps and other new technologies have revolutionized the availability of

Americans’ information.”2

         40.      Former Senator Al Franken may have said it best: “If someone wants

to share what they watch, I want them to be able to do so . . . But I want to make

sure that consumers have the right to easily control who finds out what they

watch—and who doesn’t. The Video Privacy Protection Act guarantees them that

right.”3

         41.      In this case, however, Defendant deprived Plaintiff and numerous

other similarly situated persons of that right by systematically (and surreptitiously)

disclosing their Private Viewing Information to Meta, without providing notice to

(let alone obtaining consent from) any of them, as explained in detail below.

                               BACKGROUND FACTS

    I.         Consumers’ Personal Information Has Real Market Value



2
  The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
21stcentury.
3
   Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
franken.senate.gov (Jan. 31, 2012).


                                           14
Case: 4:24-cv-01441-SPM          Doc. #: 1     Filed: 10/25/24      Page: 16 of 41 PageID #: 16




       42.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.”4

       43.      Over two decades later, Commissioner Swindle’s comments ring truer

than ever, as consumer data feeds an information marketplace that supports a 26

billion dollar per year online advertising industry in the United States.5

       44.      The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

       Most consumers cannot begin to comprehend the types and amount of
       information collected by businesses, or why their information may be
       commercially valuable. Data is currency. The larger the data set, the
       greater potential for analysis – and profit.6




4
 Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-merging-
and-exchanging-consumer-data/transcript.pdf.
5
 See Julia Angwin and Emily Steel, Web’s Hot New Commodity: Privacy, Wall Street
Journal (Feb. 28, 2011), available at
https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.

6
     Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-privacy-
roundtable/091207privacyroundtable.pdf


                                                15
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24     Page: 17 of 41 PageID #: 17




       45.     In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market.7

       46.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.”8

       47.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of

information about consumers that are now available.”9

       48.     Recognizing the severe threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies seeking


7
  See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
available at http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/ .
8
 N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16,
2012), available at https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
consumer-database-
marketing.html#:~:text=It's%20called%20the%20Acxiom%20Corporation,to%20know%20muc
h%2C%20much%20more.
9
  Letter from Sen. J. Rockefeller IV, Sen. Cmtee. On Commerce, Science, and
Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
https://www.commerce.senate.gov/services/files/3bb94703-5ac8-4157-a97b-%20a658c3c3061c.


                                             16
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24     Page: 18 of 41 PageID #: 18




information on how those companies collect, store, and sell their massive collections

of consumer data, stating in pertinent part:

              By combining data from numerous offline and online sources,
              data brokers have developed hidden dossiers on every U.S.
              consumer. This large[-]scale aggregation of the personal
              information of hundreds of millions of American citizens raises
              a number of serious privacy concerns.10

       49.     Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and

inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, including fraudulent sweepstakes,

charities, and buying clubs. Thus, when companies like Colibri share information

with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

to the “[v]ast databases” of consumer data that are often “sold to thieves by large

publicly traded companies,” which “put[s] almost anyone within the reach of

fraudulent telemarketers” and other criminals.11

       50.     Disclosures like Defendant’s are particularly dangerous to the elderly.

“Older Americans are perfect telemarketing customers, analysts say, because they


10
  See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
Consumers’      Personal Information, Website of Sen. Markey (July 24, 2012),
available at https://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
query-data-brokers-about-practices-involving-consumers-personal-information.
11
  See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007),
available at https://www.nytimes.com/2007/05/20/business/20tele.html.


                                             17
Case: 4:24-cv-01441-SPM          Doc. #: 1   Filed: 10/25/24   Page: 19 of 41 PageID #: 19




are often at home, rely on delivery services, and are lonely for the companionship

that telephone callers provide.”12

           51.     The FTC notes that “[t]he elderly often are the deliberate targets of

fraudulent telemarketers who take advantage of the fact that many older people have

cash reserves or other assets to spend on seemingly attractive offers.”13

           52.     Indeed, an entire black market exists while the personal information

of vulnerable elderly Americans is exchanged. Thus, information disclosures like

Defendant’s are particularly troublesome because of their cascading nature: “Once

marked as receptive to [a specific] type of spam, a consumer is often bombarded with

similar fraudulent offers from a host of scam artists.”14

           53.     Defendant is not alone in violating its customers’ statutory rights and

jeopardizing their well-being in exchange for increased revenue: disclosing

customer and subscriber information to data aggregators, data appenders, data

cooperatives, direct marketers, and other third parties has become a widespread

practice.        Unfortunately for consumers, however, this growth has come at the

expense of their most basic privacy rights.




12
     Id.
13
   Prepared Statement of the FTC on “Fraud Against Seniors” before the Special Committee on
Aging, United States Senate (August 10, 2000).
14
   Id.


                                              18
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24     Page: 20 of 41 PageID #: 20




      II.     Consumers Place Monetary Value on Their Privacy and Consider
              Privacy Practices When Making Purchases

            54.   As the data aggregation industry has grown, so has consumer concerns

 regarding personal information.

            55.   A survey conducted by Harris Interactive on behalf of TRUSTe, Inc.

 showed that 89 percent of consumers polled avoid doing business with companies

 who they believe do protect their privacy online.15 As a result, 81 percent of

 smartphone users polled said that they avoid using smartphone apps that they don’t

 believe protect their privacy online.16

            56.   Thus, as consumer privacy concerns grow, consumers increasingly

 incorporate privacy concerns and values into their purchasing decisions, and

 companies viewed as having weaker privacy protections are forced to offer greater

 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors. In fact, consumers’ personal information has become such

 a valuable commodity that companies are beginning to offer individuals the

 opportunity to sell their personal information themselves.17


15
   See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidenceReport_US1.pdf.
16
     Id.
17
  See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
N.Y. Times (Feb. 12, 2012), available at https://www.nytimes.com/2012/02/13/technology/start-
ups-aim-to-help-users-put-a-price-on-their-personal-data.html.


                                             19
Case: 4:24-cv-01441-SPM        Doc. #: 1     Filed: 10/25/24    Page: 21 of 41 PageID #: 21




            57.   These companies’ business models capitalize on a fundamental tenet

 underlying the personal information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent

 policies of protecting their personal data.18

        58.       Thus, in today’s digital economy, individuals and businesses alike

place a real, quantifiable value on consumer data and corresponding privacy rights.19

As such, where a business offers customers a product or service that includes

statutorily guaranteed privacy protections, yet fails to honor these guarantees, the

customer receives a product or service of less value than the product or service paid

for.

     III.     Defendant Uses Tracking Technology to Systematically Disclose its
              Customers’ Private Viewing Information to Third Parties

            59.   As alleged below, when a consumer requests or obtains a specific

 prerecorded video or subscription from one of Defendant’s Websites, the tracking

 technology that Defendant intentionally installed on its Websites transmits the fact


18
   See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European
Network and Information Security Agency, Study on Monetizing Privacy (Feb. 27, 2012), available
at https://www.enisa.europa.eu/publications/monetising-privacy.

19
  See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
(Oct. 2003) at 2, available at https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf.


                                              20
Case: 4:24-cv-01441-SPM          Doc. #: 1     Filed: 10/25/24    Page: 22 of 41 PageID #: 22




 that a consumer purchased a prerecorded video or subscription to video materials

 or services alongside his or her FID or other personally-identifying information to

 Meta and TikTok, without the customer’s consent and in clear violation of the

 VPPA.

             A. The Meta Pixel

           60.    On February 4, 2004, Mark Zuckerberg and others launched Facebook,

 now known as “Meta”.20 Meta is now the world’s largest social media platform. To

 create a Meta account, a person must provide, inter alia, his or her first and last

 name, birth date, gender, and phone number or email address.

           61.    The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a

 unique string of code that companies can embed on their websites to monitor and

 track the actions taken by visitors to their websites and to report them back to Meta.

 This allows companies like Defendant to build detailed profiles about their

 customers and to serve them with highly targeted advertising.

           62.    The Meta Pixel installed on a company’s website allows Meta to

 “match [] website visitors to their respective Facebook User accounts.”21 This is

 because Meta has assigned to each of its users an “FID” number – a unique and



20
     See Facebook, “Company Info,” available at https://about.fb.com/company-info./.
21
   Meta, “Get Started – Meta Pixel,” available at https://developers.facebook.com/docs/meta-
pixel/get-started/.


                                                21
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24     Page: 23 of 41 PageID #: 23




 persistent identifier that allows anyone to look up the user’s unique Meta profile

 and thus identify the user by name22 – and because each transmission of information

 made from a company’s website to Meta via the Meta Pixel is accompanied by,

 inter alia, the FID of the website’s visitor.

        63.    As Meta’s developer’s guide explains, installing the Meta Pixel on a

 website allows Meta to track actions that users with Meta accounts take on the

 site. Meta states that “Examples of [these] actions include adding an item to their

 shopping cart or making a purchase.”23

        64.    Meta’s Business Tools Terms govern the use of Meta’s Business

 Tools, including the Meta Pixel.24

        65.    Meta’s Business Tools Terms state that website operators may use

 Meta’s Business Tools, including the Meta Pixel, to transmit the “Contact

 Information” and “Event Data” of their website visitors to Meta.




22
   For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook
and typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page:
www.facebook.com/zuck, and all of the additional personally identifiable information contained
therein.
23
           Meta,         “About           Meta           Pixel,”           available        at
https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
24
         Meta,      “Meta        Business      Tools          Terms,”       available       at
https://www.facebook.com/legal/technology_terms.

                                             22
Case: 4:24-cv-01441-SPM       Doc. #: 1    Filed: 10/25/24   Page: 24 of 41 PageID #: 24




           66.   Meta’s Business Tools Terms define “Contact Information” as

 “information that personally identifies individuals, such as names, email

 addresses, and phone numbers . . . .”25

           67.   Meta’s Business Tools Terms state: “You instruct us to process the

 Contact Information solely to match the Contact Information against user IDs

 [e.g., FIDs] (“Matched User IDs”), as well as to combine those user IDs with

 corresponding Event Data.”26

           68.   The Business Tools Terms define “Event Data” as, inter alia,

 “information that you share about people and the actions that they take on your

 websites and apps or in your shops, such as visits to your sites, installations of

 your apps, and purchases of your products.”27

           69.   Website operators use the Meta Pixel to send information about

 visitors to their websites to Meta. Every transmission to Meta accomplished

 through the Meta Pixel includes at least two elements: (1) the website visitor’s

 FID and (2) the URL of the webpage triggering the transmission.




25
     Id.
26
     Id.
27
     Id.


                                           23
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24   Page: 25 of 41 PageID #: 25




           70.   Depending on the configuration of the Meta Pixel, the website may

 also send Event Data to Meta. Defendant has configured the Meta Pixel on its

 Website to send Event Data to Meta.

           71.   When website operators make transmissions to Meta through the

 Meta Pixel, none of the following categories of information are hashed or

 encrypted: the visitor’s FID, the URL of the website, or the Event Data.

           72.   Every website operator installing the Meta Pixel must agree to the

 Meta Business Tools Terms.28

           73.   Moreover, the Meta Pixel can follow a consumer to different websites

 and across the Internet even after the consumer’s browser history has been cleared.

           74.   Meta has used the Meta Pixel to amass a vast digital database of dossiers

 comprised of highly detailed personally identifying information about each of its

 billions of users worldwide, including information about all of its users’ interactions

 with any of the millions of websites across the Internet on which the Meta Pixel is

 installed. Meta then monetizes this Orwellian database by selling advertisers the

 ability to serve highly targeted advertisements to the persons whose personal

 information is contained within it.

           75.   Simply put, if a company chooses to install the Meta Pixel on its

 website, both the company who installed it and Meta (the recipient of the


28
     See id.

                                             24
Case: 4:24-cv-01441-SPM        Doc. #: 1    Filed: 10/25/24     Page: 26 of 41 PageID #: 26




 information it transmits) are then able to “track [] the people and type of actions

 they take,”29 including, as relevant here, the subscription to access prerecorded

 video material or the specific prerecorded video material that they purchase on any

 one of Defendant’s website.

             B. Defendant Knowingly Uses the Meta Pixel to Transmit the
                Private Viewing Information of its Customers to Meta

       76.      Defendant sells a wide variety of subscriptions and prerecorded video

materials on its Websites, including continuing education courses, on-demand

licensing courses, and other prerecorded videos.

       77.      Defendant maintains control over and governs the Websites by

requiring that each website follow the same uniform policies and identify itself as a

Colibri Group website.

       78.      To purchase prerecorded video material or a subscription to access

prerecorded video material from any one of Defendant’s Websites, a person must

provide at least his or her name, email address, billing address, and credit or debit

card (or other form of payment) information.

       79.     During the purchase process on any one of Defendant’s Websites,

Defendant uses – and has used at all times relevant hereto – the Meta Pixel to



29
   Meta, “Retargeting: How to Advertise to Existing Customers with Ads on Facebook,” available
at https://www.facebook.com/business/goals/retargeting?checkpoint_src=any.


                                             25
Case: 4:24-cv-01441-SPM      Doc. #: 1    Filed: 10/25/24   Page: 27 of 41 PageID #: 27




disclose to Meta the unencrypted FID of the person who made the purchase and the

subscription title or specific title of video material that the person purchased (as well

as the URL where such video material is available for purchase).

      80.    In order to take advantage of the targeted advertising and other

informational and analytical services offered by Meta, Defendant intentionally

programmed its Websites (by following step-by-step instructions from Meta’s

website) to include the Meta Pixel code, which systematically transmits to Meta the

FID of each person with a Meta account who purchases prerecorded video material

on any one of Defendant’s Websites, along with the subscription or the specific title

of the prerecorded video material that the person purchased.

      81.    With only a person’s FID and the subscription purchase or the title of

the prerecorded video material (or URL where such material is available for

purchase) that the person purchased from Defendant on any one of its Websites—

all of which Defendant knowingly and systematically provides to Meta—any

ordinary person could learn the identity of the person to whom the FID corresponds

and the subscription or the title of the specific prerecorded video material that the

person purchased (and thus requested and obtained). This can be accomplished

simply by accessing the URL www.facebook.com/ and inserting the person’s FID.

      82.    Defendant’s practice of disclosing the Private Viewing Information of

its customers to Meta continued unabated for the duration of the two-year period


                                           26
Case: 4:24-cv-01441-SPM     Doc. #: 1     Filed: 10/25/24   Page: 28 of 41 PageID #: 28




preceding the filing of this action. At all times relevant hereto, whenever Plaintiff

or any other person purchased a subscription to access prerecorded video material

or prerecorded video material from Defendant on any one of its Websites, Defendant

disclosed to Meta (inter alia) the subscription or the specific title of the video

material that was purchased (including the URL where such material is available for

purchase), along with the FID of the person who purchased it (which, as discussed

above, uniquely identified the person).

      83.    At all times relevant hereto, Defendant knew the Meta Pixel was

disclosing its customers’ Private Viewing Information to Meta.

      84.    Although Defendant could easily have programmed its website so that

none of its customers’ Private Viewing Information is disclosed to Meta, Defendant

instead chose to program its Websites so that all of its customers’ Private Viewing

Information is disclosed to Meta.

      85.    Before transmitting its customers’ Private Viewing Information to

Meta, Defendant failed to notify any of them that it would do so, and none of them

have ever consented (in writing or otherwise) to these practices.

      86.    By intentionally disclosing to Meta Plaintiff’s and its other customers’

FIDs together with the subscription purchase or the specific video material that they

each purchased, without any of their consent to these practices, Defendant

knowingly violated the VPPA on an enormous scale.


                                          27
Case: 4:24-cv-01441-SPM         Doc. #: 1     Filed: 10/25/24     Page: 29 of 41 PageID #: 29




           C. The TikTok Pixel

        87.     In September 2016, ByteDance launched a short-form video content

 platform, which is now known as “TikTok”. TikTok is now the leading destination

 for short-form mobile videos.30 To create a TikTok account, a person must provide,

 inter alia, his or her first and last name, birth date, gender, and phone number or

 email address.

        88.     The TikTok Pixel, first introduced in 2018 is a unique piece of code

 that can be placed on websites to share website events with TikTok, to measure

 traffic and ad campaign performance on the website, and to optimize ad campaigns

 for finding new customers. This allows companies like Defendant to build detailed

 profiles about their customers and to serve them with highly targeted advertising.

        89.     Websites, like Defendant’s, can transmit through the TikTok Pixel the

 following information: device platform, webpage URLs viewed, session ID,

 anonymous user ID, browser information, event codes, currency, email addresses,

 and phone numbers.

        90.     Additionally, the TikTok Pixel installed on a company’s website

 allows the company to share its customers’ Contact Details – name, email address,

 and or phone number – with TikTok, for matching purposes.31 This is because


30
  TikTok, About, https://www.tiktok.com/about?lang=en (last visited Oct. 22, 2024).
31
  TikTok Ads, Product Policy, TikTok, https://ads.tiktok.com/i18n/official/policy/product (last
visited Oct. 22, 2024).

                                               28
Case: 4:24-cv-01441-SPM      Doc. #: 1   Filed: 10/25/24   Page: 30 of 41 PageID #: 30




 TikTok collects Contact Information during a person’s sign up – such as first and

 last name, and phone number – which TikTok then assigns a unique and persistent

 identifier. The TikTok identifier does not prevent TikTok or anyone else from

 discovering a person’s name by simply looking it up based on their phone number,

 however. The phone number is still connected to the TikTok account, and the

 transmissions made from a company’s website to TikTok via the TikTok Pixel

 during the user’s continuous session are accompanied by, inter alia, the phone

 number of the website’s visitor. Moreover, the TikTok Pixel can follow a consumer

 to different websites and across the Internet even after the consumer’s browser

 history has been cleared.

       91.    TikTok has used the TikTok Pixel to amass a vast digital database of

 dossiers comprised of highly detailed personally identifying information about each

 of its billions of users worldwide, including information about all its users’

 interactions with any of the hundreds of thousands of websites across the Internet on

 which the TikTok Pixel is installed. TikTok then monetizes its database by selling

 advertisers the ability to serve highly targeted advertisements to the persons whose

 personal information is contained within it.

       92.    Simply put, if a company chooses to install the TikTok Pixel on its

 website, both the company who installed it and TikTok (the recipient of the

 information it transmits) are then able to track the user’s interactions with that


                                         29
Case: 4:24-cv-01441-SPM      Doc. #: 1   Filed: 10/25/24    Page: 31 of 41 PageID #: 31




 particular webpage including, as relevant here, the subscription to access

 prerecorded video material or the specific prerecorded video material that they

 purchase on any one of Defendant’s website.

            D. Defendant Knowingly Uses the TikTok Pixel to Transmit the
               Private Viewing Information of its Customers to TikTok

      93.      Similar to the Meta Pixel, during the purchase process on any one of

Defendant’s Websites, Defendant uses – and has used at all times relevant hereto –

the TikTok Pixel to disclose to TikTok the device platform, webpage URLs viewed,

session ID, anonymous user ID, browser information, event codes, currency, and

phone number of the person who made the purchase and the subscription title or

specific title of video material that the person purchased (as well as the URL where

such video material is available for purchase).

      94.     In order to take advantage of the targeted advertising and other

informational and analytical services offered by TikTok, Defendant intentionally

programmed its Websites (by following step-by-step instructions from TikTok’s

website) to include the TikTok Pixel code, which systematically transmits to TikTok

personally identifiable information (a person’s cell phone number and other unique

device information) of each person with a TikTok account who purchases

prerecorded video material or a subscription from any one of Defendant’s Websites,

along with the subscription or the specific title of the prerecorded video material that

the person purchased.

                                          30
Case: 4:24-cv-01441-SPM     Doc. #: 1     Filed: 10/25/24   Page: 32 of 41 PageID #: 32




      95.    With only a person’s cell phone number and the subscription purchase

or the title of the prerecorded video material (or URL where such material is

available for purchase) that the person purchased from Defendant on any one of its

Websites—all of which Defendant knowingly and systematically provides to

TikTok— TikTok is able to “match” an off-TikTok user with his or her TikTok

account with that person’s registered name, just like any ordinary person could learn

the identity of the person to whom the cell phone number corresponds by simply,

among other ways, doing a free online reverse lookup. Once looked up, an ordinary

person has a person’s identity and the subscription or the title of the specific

prerecorded video material that the person purchased (and thus requested and

obtained).

      96.    Defendant’s practice of disclosing the Private Viewing Information of

its customers to TikTok continued unabated for the duration of the two-year period

preceding the filing of this action. At all times relevant hereto, whenever Plaintiffs

or any other person purchased a subscription to access prerecorded video material

or prerecorded video material from Defendant on any one of its Websites, Defendant

disclosed to TikTok (inter alia) the subscription or the specific title of the video

material that was purchased (including the URL where such material is available for

purchase), along with the FID of the person who purchased it (which, as discussed

above, uniquely identified the person).


                                          31
Case: 4:24-cv-01441-SPM     Doc. #: 1   Filed: 10/25/24   Page: 33 of 41 PageID #: 33




      97.    At all times relevant hereto, Defendant knew the TikTok Pixel was

disclosing its customers’ Private Viewing Information to TikTok.

      98.    Although Defendant could easily have programmed its website so that

none of its customers’ Private Viewing Information is disclosed to TikTok,

Defendant instead chose to program its Websites so that all of its customers’ Private

Viewing Information is disclosed to TikTok.

      99.    Before transmitting its customers’ Private Viewing Information to

TikTok, Defendant failed to notify any of them that it would do so, and none of them

have ever consented (in writing or otherwise) to these practices.

      100. By intentionally disclosing to TikTok Plaintiffs’ and its other

customers’ phone numbers together with the subscription purchase or the specific

video material that they each purchased, without any of their consent to these

practices, Defendant knowingly violated the VPPA on an enormous scale.

                       CLASS ACTION ALLEGATIONS

      101.    Plaintiff Damrau seeks to represent a class defined as all persons in

the United States who, during the two years preceding the filing of this action,

purchased prerecorded video material or a subscription to access prerecorded video

material or services from any one of Defendant’s portfolio of Websites while

maintaining an account with Meta Platforms, Inc. f/k/a Facebook, Inc.




                                         32
Case: 4:24-cv-01441-SPM      Doc. #: 1     Filed: 10/25/24   Page: 34 of 41 PageID #: 34




       102.    Plaintiff Damrau and Plaintiff Oshea seek to represent a class defined

as all persons in the United States who, during the two years preceding the filing of

this action, purchased prerecorded video material or a subscription to access prerecorded

video material or services from Defendant’s www.elitelearning.com or

www.colibrirealestate.com websites while maintaining an account with TikTok,

Inc.

       103.    Members of the Classes are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Classes number

in at least the tens of thousands. The precise number of Class members and their

identities are unknown to Plaintiffs at this time but may be determined through

discovery. Members of the Classes may be notified of the pendency of this action

by mail and/or publication through the membership records of Defendant.

       104.    Common questions of law and fact exist for all members of the

Classes and predominate over questions affecting only individual class members.

Common legal and factual questions include but are not limited to (a) whether

Defendant embedded tracking pixels on its Websites that monitor and track actions

taken by visitors to the Websites; (b) whether Defendant reports the actions and

information of visitors to third parties; (c) whether Defendant knowingly disclosed

Plaintiffs’ and members of the Classes’ Private Viewing Information to third

parties; (d) whether Defendant’s conduct violates the Video Privacy Protection Act,


                                           33
Case: 4:24-cv-01441-SPM     Doc. #: 1    Filed: 10/25/24   Page: 35 of 41 PageID #: 35




18 U.S.C. § 2710; and (e) whether Plaintiffs and members of the Classes are entitled

to a statutory damage award of $2,500, as provided by the VPPA.

      105.    The named Plaintiffs’ claims are typical of the claims of members of

the Classes in that the Defendant’s conduct toward the putative class is the same.

That is, Defendant embedded tracking technologies on its Websites to monitor and

track actions taken by consumers on its Websites and report this to third parties.

Further, the named Plaintiffs and members of the Classes suffered invasions of their

statutorily protected right to privacy (as afforded by the VPPA), as well as

intrusions upon their private affairs and concerns that would be highly offensive to

a reasonable person, as a result of Defendant’s uniform and wrongful conduct in

intentionally disclosing their Private Purchase Information to third parties.

      106.    Plaintiffs are adequate representatives of the Classes because they are

interested in the litigation; their interests do not conflict with those of the Class

members they seek to represent; they have retained competent counsel experienced

in prosecuting class actions; and they intend to prosecute this action vigorously.

Plaintiffs and their counsel will fairly and adequately protect the interests of all

members of the Classes.

      107.    The class mechanism is superior to other available means for the fair

and efficient adjudication of Class members’ claims. Each individual member of

the Classes may lack the resources to undergo the burden and expense of individual


                                          34
Case: 4:24-cv-01441-SPM         Doc. #: 1   Filed: 10/25/24   Page: 36 of 41 PageID #: 36




prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by this case’s

complex legal and factual issues. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication of the common questions of law and fact, economy of scale, and

comprehensive supervision by a single court on the issue of Defendant’s liability.

Class treatment of the liability issues will ensure that all claims and claimants are

before this Court for consistent adjudication of the liability issues.

                              CAUSE OF ACTION
         Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710

       108.    Plaintiffs repeat the allegations asserted in the preceding paragraphs

as if fully set forth herein.

       109.    The VPPA prohibits a “video tape service provider” from knowingly

disclosing “personally identifying information” concerning any “consumer” to a

third party without the “informed, written consent (including through an

electronic means using the Internet) of the consumer.” 18 U.S.C. § 2710.

       110.    As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider”

is “any person, engaged in the business, in or affecting interstate or foreign

commerce, of rental, sale, or delivery of prerecorded video cassette tapes or similar

                                            35
Case: 4:24-cv-01441-SPM     Doc. #: 1    Filed: 10/25/24   Page: 37 of 41 PageID #: 37




audiovisual materials[.]” Defendant is a “video tape service provider” as defined

in 18 U.S.C. § 2710(a)(4) because it is engaged in the business of selling and

delivering prerecorded video materials and subscriptions to access prerecorded

video materials, similar to prerecorded video cassette tapes, to consumers

nationwide.

      111.    As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any

renter, purchaser, or consumer of goods or services from a video tape service

provider.” As alleged above, Plaintiffs and members of the Classes are each a

“consumer” within the meaning of the VPPA because they each purchased

prerecorded video material or a subscription to access prerecorded video material

or services from any one of Defendant’s Websites that was sold and delivered to

them by Defendant.

      112.    As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable

information’ includes information which identifies a person as having requested or

obtained specific video materials or services from a video tape service provider.”

The Private Viewing Information that Defendant transmitted to Meta constitutes

“personally identifiable information” as defined in 18 U.S.C. § 2710(a)(3) because

it identified Plaintiffs and members of the Classes to third parties as an individual

who purchased, and thus “requested or obtained,” a subscription to access




                                         36
Case: 4:24-cv-01441-SPM     Doc. #: 1   Filed: 10/25/24   Page: 38 of 41 PageID #: 38




prerecorded video material or specific prerecorded video material from one of

Defendant’s Websites.

      113.    Defendant knowingly disclosed Plaintiffs’ and members of the

Classes’ Private Viewing Information to Meta via the Meta Pixel technology

because Defendant intentionally installed and programmed the Meta Pixel code on

its Websites, knowing that such code would transmit the subscription or

prerecorded video material purchased by its consumers and the purchasers’ unique

identifiers (including FIDs).

      114.    Defendant knowingly disclosed Plaintiffs’ and members of the

Classes’ Private Viewing Information to TikTok via the TikTok Pixel technology

because Defendant intentionally installed and programmed the TikTok Pixel code

on its www.elitelearning.com and www.colibrirealestate.com websites, knowing

that such code would transmit the subscription or prerecorded video material

purchased by its consumers and the purchasers’ cellular telephone number, browser

and device information.

      115.    Defendant failed to obtain informed written consent from Plaintiffs

or members of the Classes authorizing it to disclose their Private Viewing

Information to any third party. More specifically, at no time prior to or during the

applicable statutory period did Defendant obtain from any person who purchased

prerecorded video material or a subscription to access prerecorded video material


                                         37
Case: 4:24-cv-01441-SPM     Doc. #: 1   Filed: 10/25/24   Page: 39 of 41 PageID #: 39




or services on its Websites (including Plaintiffs or members of the Classes)

informed, written consent that was given in a form distinct and separate from any

form setting forth other legal or financial obligations of the consumer, that was

given at the time the disclosure is sought or was given in advance for a set period

of time, not to exceed two years or until consent is withdrawn by the consumer,

whichever is sooner, or that was given after Defendant provided an opportunity, in

a clear and conspicuous manner, for the consumer to withdraw consent on a case-

by-case basis or to withdraw consent from ongoing disclosures, at the consumer’s

election. See 18 U.S.C. § 2710(b)(2).

      116.    By disclosing Plaintiffs’ and members of the Classes’ Private

Viewing Information, Defendant violated their statutorily protected right to privacy

in their Private Viewing Information.

      117.    Consequently, Defendant is liable to Plaintiffs and members of the

Classes for damages in the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).

                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

 situated, seek a judgment against Defendant Colibri Group, Inc. as follows:

          a) For an order certifying the Class under Rule 23 of the Federal Rules
             of Civil Procedure and naming Plaintiffs as representatives of the
             Classes and Plaintiffs’ attorneys as Class Counsel to represent the
             Classes;



                                         38
Case: 4:24-cv-01441-SPM    Doc. #: 1    Filed: 10/25/24   Page: 40 of 41 PageID #: 40




          b) For an order declaring that Defendant’s conduct as described herein
             violated the VPPA;

          c) For an order finding in favor of Plaintiffs and the Classes and against
             Defendant on all counts asserted herein;

          d) For an award of $2,500.00 to Plaintiffs and each member of the
             Classes, as provided by 18 U.S.C. § 2710(c);

          e) For an order permanently enjoining Defendant from disclosing the
             Private Viewing Information of its purchasers and subscribers to third
             parties in violation of the VPPA;

          f) For prejudgment interest on all amounts awarded; and

          g) For an order awarding punitive damages, reasonable attorneys’ fees,
             and costs to counsel for Plaintiffs and the Classes under Rule 23 and
             18 U.S.C. § 2710(c).



                                             Respectfully submitted,

Dated: October 25, 2024                      HEDIN LLP

                                             /s/ Elliot O. Jackson
                                             Elliot O. Jackson
                                             MO Reg. No. #1034536(FL)
                                             1395 Brickell Ave., Suite 610
                                             Miami, Florida 33131-3302
                                             Telephone: (305) 357-2107
                                             Facsimile: (305) 200-8801
                                             ejackson@hedinllp.com


                                             Julie E. Holt*
                                             1395 Brickell Ave., Suite 610
                                             Miami, Florida 33131-3302
                                             Telephone: (305) 357-2107
                                             Facsimile: (305) 200-8801
                                             jholt@hedinllp.com


                                        39
Case: 4:24-cv-01441-SPM   Doc. #: 1   Filed: 10/25/24   Page: 41 of 41 PageID #: 41




                                           Counsel for Plaintiffs and Putative
                                           Class

                                           *Application for admission Pro Hac
                                           Vice forthcoming




                                      40
